     Case 1:19-cr-20822-KMW Document 26 Entered on FLSD Docket 06/01/2020 Page 1 of 1

                                          M IN UTE O RD ER                                                                    Page1
                            Chief M agistrate Judge John J.O 'Sullivan
                    AtkinsBuildingCourthouse-5thFloor                         Date:6/1/20                 Time:1:00 p.m.
Defendant: JESUS M ANUEL M ENOCAL,JR. J#:O N BOND               Case #: 19-20822-CR-W ILLIAM S                                .
AUSA:               -                                   Attorney: M ichaelGrieco-perm .
violation: DeprivationofRightsUnderColorofLa                 surr/ArrestDate:           YOB:

Proceeding: W aiver/lnd/xrraign/supersedingInformation CJA Appt:
Bond/PTD Held:C Yes r-'No         Recommended Bond:
Bond Setat:Stip.$2501 4w/10% Psb                       Co-signed by:
 I-
  l--lsurrenderand/ordonotobtainpassports/traveldocs                       Language:English
 j- ReporttoPTSasdirect.ed/or                  x'saweek/monthby Disposition: 3                            4 jyN-D '4*
   phone:        x'saweek/monthinperson                                           .      *        (/
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 '-   Refrain from excessive use ofalcohol                  1n
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                                                                 i--           hlotGuilty plea entered
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 )-- Participateinmentalhealthassessment& treatment                            standin DlscoverxOrdeEreqtfeM
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 1-- M aintain orseekfulltimeemployment/education
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 '' Nocontactwithvictims/witnesses,exceptthroughcounsel *                     0         *
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 V    NOtto encumberproperty                                                                                 *C.e
 C MaynOtVisittransportationestablishments                                    f*
 .    HomeConfinement/ElectronicMonitoringand/or
      Curfew                pm to         am ,paid by                                   -
 1- Allow ances:M edicalneeds,courtappearances,attorney visits,                *
      religious,em ploym ent
 '
      Travelexten-ded to:
                                                                             Im efrom today to                       excl             d
 C    Other:            ,       .                                           from Speedy TrialClock
NEXT COURT APPEARANCE       Date:         Tim e:           Judge:                                Place:

ReportRECounsel:                                                                       X e cz oje* .e,hyu.-
PTD/Bond Hearing:
Prelim/ArraignorRemoval:
Status Conference RE:
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D.A.R. l.
        5 Jo& '
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               f ;.                                              TimeinCourt:            v.
                                                                                          j
                                    s/lohnJ.O'Sullivan                                       ChiefMagistrateJudge
